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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

In re: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE

LITIGATION MDL NO. 1456

Civil Action No. 01-12257-PBS
Judge Patti B. Saris

THIS DOCUMENT RELATES TO

State of Nevada v. Abbott Laboratories, et al.,

Case No. CV02-00260 (Nevada D, Chief Magistrate Judge Marianne B.

Bowler

State of Nevada v. American Home Products, et al., )
CA No. 02-CV-12086-PBS (Nevada II), and)
) HEARING: March 29, 2006

State of Montana vy. Abboit Labs., Inc., et al. 10:00 a.m.

)
CA No. 02-CV-12084-PBS )
)

DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR
SECOND MOTION TO COMPEL DISCOVERY FROM PLAINTIFFS
THE STATE OF NEVADA AND THE STATE OF MONTANA

Defendants submit this reply brief in support of their Second Motion to Compel
(“Motion”) in order to clarify and supplement the record with evidence recently acquired from
deposition testimony and documents produced by the States after the filing of the Motion.
Defendants also respond to new arguments raised by the States that were not addressed in the
Motion. Defendants request that the Court specifically order the production of certain
documents and data that the States agreed—but have thus far failed—to produce.

I. RECENT EVIDENCE REINFORCES THE RELEVANCE OF THE DISCOVERY
SOUGHT FROM THE STATES’ NON-MEDICAID AGENCIES,

Each State’s knowledge of drug acquisition costs and understanding of AWP are key
issues in this case. Communications between agencies that either acquired or reimbursed for

prescription drugs are highly relevant in that they reflect upon the State’s considerations and
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motivations in setting its reimbursement rates within the Medicaid program. Defendants
therefore seek a limited number of documents and depositions relating to certain agencies’ drug
reimbursement policies and their knowledge of drug acquisition costs. See Motion at 4-5.
Deposition testimony and documents recently produced by Nevada and Montana confirm
that Plaintiffs’ assertion (Opp. at 3) that there “is no formal - or even informal — relationship
between different State agencies involved in the purchasing and reimbursement of drugs” is
simply not true. The examples set out below directly contradict Plaintiffs’ statement (Opp. at 6)
that “Defendants have not been able to establish that any interagency communications regarding

drugs and drug reimbursement took place”:

e« A “background paper” and “attendee list” produced at deposition earlier this week from
the “Nevada Prescription Drug Policy Makers’ Summit” makes clear that Nevada
Medicaid has been exchanging drug reimbursement and cost information with the various
State agencies from which discovery is sought — the Nevada Mental Health and
Developmental Services Division, the State Pharmacy Assistance Programs (Senior Rx
and Disability Rx), Public Employees Benefit System, and the Nevada Department of

Corrections. See Ex. 31.

e Recent deposition testimony confirms that key officials at Nevada Medicaid, including
the agency’s pharmacy director, were aware of and considered the drug purchasing and
reimbursement policies of certain state agencies from which Defendants seek discovery.
See Ex. 32, Squartsoff Dep. Tr. at 112-19 (3/6/06); Ex. 33, Townley Dep. Tr. at 124-25,
128-29 (1/27/06); Ex. 34, King Dep. Tr. at 12-13 (1/28/06).

*¢ Nevada Medicaid’s written protocol for developing cost-containment policies, which
presumably include efforts to control costs by reducing drug reimbursement rates,
requires “contact with other state agencies.” See Ex. 35 at NVO8648.

e A document outlining the “Interagency Agreements” that Nevada Medicaid maintains
with the Divisions of Child and Family Services and Mental Health and Development
Services reinforces the institutional links among the agencies. See Ex. 36 at NV009694.

* Montana Medicaid was aware that the Department of Corrections had a contract that
provided for reimbursement of drugs based on “actual acquisition cost” plus a per
prescription fee. Ex. 37 (MT 018459; Poulsen Ex. 3). This contract applied not only to
drugs dispensed to residents of Montana correctional facilities, but also to residents of
state institutions administered by the Department of Public Health and Human Services
(“DPHHS”), the umbrella organization of which Montana Medicaid is a part. Ex. 38
(MT 18455; Poulsen Ex, 4). Asked about these exhibits, Montana's pharmacy program
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officer testified that she understood from them that AWP — 10% did not represent actual
acquisition cost. See Ex. 39, Poulsen Dep. Tr. at 40 (2/22/06).

e Montana Medicaid performed an analysis of and compared “the two reimbursement
methodologies” used by the Department of Corrections and the state institutions and that
used by Montana Medicaid. Ex. 39, Poulsen Dep. Tr. at 62-63; Ex. 40 (Poulsen Ex.
5/MT004034-43) at MT004041; see also Ex. 39, Poulsen Dep. Tr. at 166-67 (describing
differences in approach to pharmaceutical reimbursement among agencies).

e Montana had a “Pharmaceutical Management — Advisory Committee,” with members
from the Department of Corrections and from various divisions of DPHHS, including
Medicaid, the Addictive & Mental Disorders Division, the Disability Services Division,
and the Senior & Long Term Care Division. Ex. 41 (Poulsen Ex. 35/MT 018336).
Representatives from these various Montana entities were involved in discussions
regarding reimbursement for drugs, including discussions relating to the re-negotiation of
the contract for pharmaceutical management to which the Department of Corrections and
DPHHS were a party. Ex. 39, Poulsen Dep. Tr. at 66-67, 160-63.

Along with the evidence discussed in the Motion (at 6-7) regarding interagency ties and
communications about drug costs and reimbursement, these facts lay a solid foundation for

pursuing limited discovery from select non-Medicaid agencies.

Il. RECENT EVIDENCE REINFORCES THE RELEVANCE OF DISCOVERY
FROM LEGISLATIVE AND EXECUTIVE OFFICES.

Recent evidence also reinforces the factual basis for pursuing discovery from certain
State legislative and executive offices. Two former Nevada Medicaid officials have confirmed
that both the legislature and the governor’s office are intimately involved in administrative
decisions that have budgetary implications, such as changes to the drug reimbursement rate.
Proposed agency budgets are reviewed and shaped by the governor’s office, and the legislature
provides input on state plan amendments with budgetary impacts. See Ex. 34, King Dep. Tr. at
51-53; Ex. 42, Wright Dep. Tr. at 82-83 (1/26/06). As just one example, earlier this week, the
Director of the Nevada Department of Health and Human Services testified to having

conversations about drug rermbursement issues with Michael Hillerby, the governor’s former
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chief of staff, who Defendants seek to depose. See Ex, 43, Willden Rough Dep. Tr. at 53-54
(3/21/06).

In addition, recent deposition testimony has confirmed that Steve Abba, whose deposition
Nevada opposes, is the Legislative Counsel Bureau’s fiscal analyst responsible for analyzing and
reporting to the legislature the budgetary impact of Medicaid initiatives. See Ex. 34, King Dep.
Tr. at 51-52. Documents produced by Nevada indicate that Mr. Abba is routinely copied on
memoranda concerning reimbursement rates and prescription drugs. See, e.g., Ex. 44 (Hospital
Inpatient Prospective Rates Memorandum) at NV014076; Ex. 45 (Provider Fee Schedule) at
NV014238; Ex. 46 (Automated Unit Dose Credit Return Processing) at NV012645.'

UL THE STATES’ PRODUCTION OF PRE-1991 DOCUMENTS RELATING TO

THE STATES’ KNOWLEDGE AND UNDERSTANDING OF AWP AND DRUG

ACQUISITION COSTS SHOULD NOT BE TIED TO DEFENDANTS’
PRODUCTION OF PRE-1991 DOCUMENTS.

The standard for discovery is relevance, not symmetry. The States do not dispute the
relevance of Defendants’ pre-1991 requests, which are limited to documents relating to the
States’ knowledge and understanding of AWP and drug acquisition costs.” Nevertheless, the
States contend that they should not be compelled to produce any documents from the pre-1991
time period unless Defendants do so as well. See Opp. at 12-13. Other than arguing “if you
don’t, I won’t,” the States have failed to articulate the relevance of any pre-1991 documents held

by Defendants. The Court should reject the States’ transparent attempt to impose needless

" As to Montana, Plaintiffs provide no rebuttal to the specific evidence outlined in the Motion as to the involvement
of Montana's executive and legislative officials in policy choices affecting Medicaid and prescription drug
reimbursement. Motion at 9-10 (citing Ex's. 13-15).

* Indeed, at the Court’s direction and contrary to Plaintiffs’ assertions (see Opp. at 13) Defendants endeavored to
narrow their requests even further, but, in response, Plaintiff Nevada made very clear that its “position regarding
pre-1991 discovery has not changed” and that “[a]ny agreement to produce information from the earlier time period
must be bilateral.” See Ex. 47 (9/23/05 Litow Letter) at 3-4; Motion Ex. 20. Plaintiff Montana alse indicated that it
would not change its position on pre-1991 discovery. Ex. 48 (12/12/05 Breckenridge Letter).
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discovery burdens on Defendants as a price for producing documents to which Defendants are

clearly entitled.’

IV. THE STATES’ OBJECTIONS TO PRODUCING ANY ELECTRONIC
DOCUMENTS ARE MERITLESS.

The States have failed to produce any electronic documents from their computer files.
Seven months after receiving Defendants’ discovery requests, the States raised, for the first time,
objections that the requests for electronic discovery are overbroad, cumulative, and unduly
burdensome. These objections are meritless, and Defendants’ motion to compel should be
granted.

A. Defendants’ Requests Are Not Overbroad.

The States offer no argument whatsoever to support their assertion (Opp. at 14-16) that
Defendants’ requests for electronic documents (served in May 2005) are overbroad. Defendants’
proposed search terms are tailored to the key issues of the case, a fact that is substantiated by
Plaintiffs’ counsel’s acceptance of a virtually identical set of search terms in the Connecticut
AWP actions.

B. The Discovery Sought Is Not Cumulative.

The States also now contend that electronic document production will be cumulative
because all documents that “need to be retained” must be printed out. Such an argument

assumes that, without the direction of counsel, the various state employees of Nevada and

* If the States truly believed that documents pre-dating 1991 in the possession of Defendants were relevant, the
solution would have been for the States’ counsel to meet and confer with Defendants’ counsel to explain the
relevance of these documents and, if necessary, file a motion compelling their production. “Parties to a lawsuit
cannot, without seeking some sort of relief from the Court, refuse to provide discovery to another party on the basis
that the other party has not provided discovery to them.” Mahoney v. Kempton, 142 F.R,D. 32, 33 (D. Mass. 1992),

* Defendants nonetheless attempted to compromise by further narrowing the scope of the proposed search in Nevada
to the files of four current Medicaid officials whose depositions were scheduled for the week of March 20. See Ex.
49 (2/24/06 Litow Email). Nevada failed to respond to Defendants’ offer, forcing Defendants to go forward with the
depositions without access to the requested electronic documents,
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Montana are, and have been, sufficiently familiar with the claims and defenses of this litigation
to determine which documents are relevant and therefore in need of preservation. However, for
more than three years after the filing of their complaints, the States failed to issue a disposition
hold requiring the States’ employees to preserve documents related to this litigation, calling into
serious question whether relevant materials were preserved at all. See Defendants’ Emergency
Motion For An Order Holding Plaintiffs In Contempt, For Preservation Of Relevant Documents,
And For An Accounting Of Spoliated Documents (filed on 12/7/05) at 2-7. Nevada has
produced very few email printouts, suggesting that either not all relevant emails have been
printed out, or that responsive emails have been spoliated.” Although Montana has produced
some email printouts, they could not possibly constitute the universe of relevant electronic
documents that existed when Montana filed this lawsuit in 2002.

C. The Requested Electronic Discovery Is Not Unduly Burdensome.

The States further argue that the requested electronic discovery is unduly burdensome
due to time, expense, and technical limitations. See Opp. at 14-15. While Defendants do not
concede that the States are unduly burdened by the constraints of time, any such burden is the
sole fault of the States, who neglected their electronic discovery obligations for seven months.
The technical constraints raised by the States, if accurate, only require that they conduct
individual searches rather than the compound or “wildcard” searches suggested by Defendants.

This is not a complicated or unduly burdensome task. Nonetheless, Defendants have offered to

> Indeed, Defendants have obtained from non-parties relevant emails and other documents written by or addressed to
Nevada Medicaid officials that were not produced by Nevada, suggesting that these emails — which are dated after
the filing of the complaint — either exist in Nevada’s computer files or have been spoiliated. See, e.g, Ex. 50, Duarte
Rough Dep. Tr. at 75-79 (3/22/06) (discussing email produced by non-party from Nevada Medicaid Administrator
acknowledging impact change in medicine code rates could have on access to care for children; “not my practice” to
print out emails; “I may still have it. | archive my emails.”).
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consider any reasonable proposals from the States for limiting the searches or making them more
efficient, but no such proposals have been forthcoming. See Ex, 49 (2/24/06 Litow Email).

D. The States Must Cover The Costs Of Electronic Production.

The States are apparently willing to compromise their unreasonable refusal to produce
electronic documents only if Defendants are forced to compensate them for the production. See
Opp. at 16-17. Not only is Plaintiffs’ position entirely unfair and contrary to what the practice
has been in the MDL (Defendants previously produced many thousands of pages of electronic
documents at their own cost), but it relies on an erroneous analysis of the applicable law,

The States purport to rely on the legal standard for cost-shifting in electronic discovery
that was articulated in Zubulake v. UBS Warburg, 217 F.R.D. 309 (S.D.N.Y. 2003), but
conveniently ignore the first step of that analysis. As a threshold matter, documents maintained
on accessible media are not subject to cost-shifting. See id. at 318. Although the States suggest
that individual archives on individual hard drives are “less accessible,” see Opp. at 17, Zubulake
makes clear that “active online data” and “offline archives” are accessible by definition. See
Zubulake, 217 F.R.D. at 318-20. By the States’ own account, the only inaccessible medium that

they must search are those few backup tapes that they have preserved since late 2005.° See Opp.

at 15, 17.

® Nevada concedes that it only retains monthly backup tapes dating to September 2005, while Montana concedes
that it only retains monthly backup tapes dating to December 2005. See Rosenberg Decl. at 2; Holm Decl. at 2. The
deposition of Randy Holm, the Bureau Chief for Montana's Computing Technology Services Bureau, revealed that
prior to December, 1, 2005 there was no litigation hold in place in Montana. As a result, the data tapes containing
emails prior to that date were destroyed, Ex. 54, Holm Dep. Tr. 23-24 ("Q: So, with respect to the information that
is centrally backed up, what happens to that information when it’s 30 days old, is it permanently deleted? A: Yes,
it's deleted.”); Tr. 24-25 ("Q: Is this litigation subject to one of those holds that you described? A: Yes. Q: Do you
know when that hold was initiated? A: We've got tapes to December Ist, 2005."). In addition to centrally-stored
emails for the time period prior to December 1, 2005, that were permanently deleted as a result of Montana's 30-day
destruction cycle, emails were also routinely destroyed by Montana in any email box that exceeded the State's 50-
megabyte memory limit for individual user accounts. Tr. 60-61 ("Q: [O]nce you've reached the 50 megabyte limit,
you have to permanently delete items within your email to get back within the ceiling; is that right? A: Correct.").
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As to those documents deemed inaccessible, the Zubulake analysis requires the court to
consider seven factors in determining whether cost-shifting is appropriate. See Zubulake, 217
F.R.D. at 323. These factors are: (i) the extent to which the request is specifically tailored to
discover relevant information; (ii) the availability of such information from other sources; (iil)
the total cost of production, compared to the amount in controversy; (iv) the total cost of
production, compared to the resources available to each party; (v) the relative ability of each
party to control costs and its incentive to do so; (vi) the importance of the issues at stake in the
litigation; and (vii) the relative benefits to the parties of obtaining the information. /d.
Consideration of these seven factors clearly demonstrates the impropriety of the States’ attempts
to shift the costs of fulfilling their discovery obligations onto Defendants.

First, as explained above, Defendants’ proposed search terms are specifically tailored to
produce relevant information and were accepted and used by Plaintiffs’ counsel in the
Connecticut AWP actions.

Second, the States’ confidence that such documents are readily available in hard copy is
belied by their failure to issue a litigation hold and the fact that their retention policies do not
extend to all responsive documents.

The three “cost” factors all militate against cost-shifting, especially given that the States
have destroyed all but a few backup tapes. The cost of restoring these few tapes is quite small
compared to the millions of dollars at stake in the litigation. Cf Zubulake v. UBS Warburg, 216
F.R.D. 280, 287-88 (S.D.N.Y. 2003) (noting that even though Plaintiff was an unemployed
individual, the $19 million claim and ability of Plaintiffs’ firms to front costs weighed against

shifting the costs of restoring 72 backup tapes). Furthermore, given that these backup tapes
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belong to the States, they are in a better position than Defendants to limit the costs of restoration
and production. See OpenTV v. Liberate Techs., 219 F.R.D. 474, 478.

Finally, as to the sixth and seventh factors, Defendants and Plaintiffs agree that the issues
at stake in the litigation are important and that Defendants would be the party to benefit from the
production of this discovery. See Opp. at 18 n.18. The fact that this litigation implicates broad
public policy issues relating to the States’ Medicaid programs counsels against cost-shifting and
in favor of extensive discovery. See Zubulake, 217 F.R.D. at 321; Xpedior Creditor Trust v.
Credit Suisse First Boston (USA), Inc., 309 F Supp.2d 459, 466 (S.D.N.Y. 2003),

V. THE COURT SHOULD COMPEL NEVADA TO PRODUCE THE POST-2003
CLAIMS DATA THAT THEY HAVE AGREED TO PRODUCE,

While Nevada has agreed to produce post-2003 Medicaid claims data, see Motion at 18
& Opp. at 2, it has yet to do so. The data is maintained by Nevada’s fiscal agent, but, as
previously explained, is owned by the State and therefore within its “possession, custody or
control.” See Motion at 18,n.10. Accordingly, the Court should order Nevada to take
affirmative steps to produce this data immediately at its own cost so that Defendants’ experts
have sufficient time to analyze the data prior to the May 5, 2006 deadline for submitting their

reports.

VI. THE COURT SHOULD COMPEL MONTANA TO PRODUCE THE
DISPENSING FEE SURVEYS THAT IT OBJECTED TO PRODUCING FOR
THE FIRST TIME AFTER FILING ITS OPPOSITION TO THE MOTION TO

COMPEL.

Defendants’ Motion listed six categories of documents to which Montana had agreed to
produce or had not objected to. One such category was responses to the dispensing fee
questionnaires from Montana Medicaid providers. Motion at 19. Having learned about the
existence of these surveys at a Montana 30(b)(6) deposition in mid-December, Defendants

specifically requested these dispensing fee surveys in a letter dated December 19, 20035. Ex. 51
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(O'Sullivan letter). The State of Montana raised an objection to these surveys for the first time
on February 28, 2006, the cut-off date under CMO 23 for the States to complete document
production. Ex. 52 (Breckenridge email) (attaching copy of blank dispensing fee questionnaire).
The Court should compel Montana to produce these dispensing fee surveys because (a) they are
relevant — as they are likely to establish, consistent with other documents produced by Montana,
that Montana Medicaid’s dispensing fee was inadequate to reimburse providers for their costs of
dispensing drugs, Ex. 53 (Poulsen Ex. 12 at 2, “Medicaid Services Prescription Drug Program
Memo,” 12/6/99) (“The current maximum dispensing fee of $4.20 covers between one-fourth
and one-half of the cost incurred by pharmacies.”); (b) the State’s objection was untimely; and
(c) any alleged confidentiality of the information contained in these surveys will be protected by
the Protective Order in effect in this case.
CONCLUSION

For the foregoing reasons and those previously stated in Defendants’ Motion, the Court

should grant Defendants’ Motion to Compel Discovery from Plaintiffs the State of Nevada and

the State of Montana.

Respectfully submitted on behalf of all
Defendants in the Nevada and Montana actions,

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March 24, 2006

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Certificate of Service

I hereby certify that on March 24, 2006, I caused a true and correct copy of
Defendants’ Reply Brief in Support of their Second Motion to Compel Discovery From Plaintiffs
the State of Nevada and the State of Montana, together with accompanying exhibits, to be served
on all counsel of record by electronic service pursuant to Case Management Order No. 2 in MDL

No. 1456.

/s/ Ronald G. Dove, Ir.

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